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                         IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA
____________________________________
JENNIFER EGAN                            :
3 Fraley Street                          :
Bridgeport, PA 19405                     :    CIVIL ACTION
                                         :
                Plaintiff,               :    No. _______________
       v.                                :
                                         :
REDEMPTION SPIRITS, LLC, d/b/a           :
AMERICAN SPIRITS EXCHANGE                :
LIMITED                                  :
408 E. Fourth Street, Ste. 209           :    JURY TRIAL DEMANDED
Bridgeport, PA 19405                     :
       and                               :
RAYMOND WINTERS                          :
408 E. Fourth Street, Ste. 209           :
Bridgeport, PA 19405                     :
       and                               :
PHILIP KOLODZIEY                         :
408 E. Forth Street, Ste. 209            :
Bridgeport, PA 19405                     :
                                         :
                Defendants.              :
____________________________________:

                                CIVIL ACTION COMPLAINT

       Plaintiff, by and through her undersigned counsel, hereby avers as follows:

                                     I. INTRODUCTION

       1.       This action has been initiated by Jennifer Egan (hereinafter referred to as

“Plaintiff,” unless indicated otherwise) for violations of the Fair Labor Standards Act ("FLSA" -

29 U.S.C. §§ 201, et. seq.) and applicable state law(s). Plaintiff asserts herein that she was not

paid wages or overtime compensation in accordance with applicable state and federal laws. As a

direct consequence of Defendants' actions, Plaintiff seeks damages as set forth herein.
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                                 II. JURISDICTION AND VENUE

        2.       This Court, in accordance with 28 U.S.C. 1331, has jurisdiction over Plaintiff’s

claims because they arise under a federal law - the FLSA. There is supplemental jurisdiction over

Plaintiff’s state-law claims herein because they arise out of the same common nucleus of

operative facts as Plaintiff’s federal claim(s) set forth in this lawsuit.

        3.       This Court may properly maintain personal jurisdiction over Defendants because

Defendants’ contacts with this state and this judicial district are sufficient for the exercise of

jurisdiction over Defendants to comply with traditional notions of fair play and substantial

justice, satisfying the standard set forth by the United States Supreme Court in International Shoe

Co. v. Washington, 326 U.S. 310 (1945) and its progeny.

        4.       Pursuant to 28 U.S.C. § 1391(b)(1) and (b)(2), venue is properly laid in this

district because all of the acts and/or omissions giving rise to the claims set forth herein occurred

in this judicial district.

                                            III. PARTIES

        5.       The foregoing paragraphs are incorporated herein in their entirety as if set forth in

full.

        6.       Plaintiff is an adult individual, with an address as set forth in the caption.

        7.       Redemption Spirits, LLC, d/b/a American Spirits Exchange Limited (hereinafter,

“Defendant RS-LLC” where referred to individually) is an importer, national wholesaler, and

distributor of alcoholic beverages throughout the United States. This entity is incorporated in

Delaware and headquartered and operating from the above-captioned address in Montgomery

County, Pennsylvania.




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         8.       Raymond Winters (hereinafter, “Defendant Winters” where referred to

individually) is the Chief Executive Officer (“CEO”) of Defendant RS-LLC overseeing all

aspects of operations, personnel, and compensation of employees.

         9.       Philip Kolodziey (hereinafter, “Defendant Kolodziey” where referred to

individually) is the President of Defendant RS-LLC overseeing all aspects of operations,

personnel, and compensation of employees.

         10.      Defendants RS-LLC, Winters, and Kolodziey may hereinafter be collectively

referred as “Defendants.” At all times relevant herein, Defendants acted by and through their

agents, servants and employees, each of whom acted at all times relevant herein in the course and

scope of their employment with and for Defendants.

                                  IV. FACTUAL BACKGROUND

         11.      The foregoing paragraphs are incorporated herein in their entirety as if set forth in

full.

         12.      Plaintiff was hired by Defendants in or about July of 2016; and in total, Plaintiff

was employed with Defendant RS-LLC for in excess of 7 years (until termination in or about

September of 2023).

         13.      Plaintiff was primarily referred to within Defendant RS-LLC under the job title of

Purchase Order Department Manager (or slight variations of this job title phrasing).

         14.      Plaintiff was paid a salary; and as of termination, her salary was $70,000.00 per

annum.

         15.      Plaintiff typically averaged at least 50 hours of work per week for Defendants

(which is at least 10 hours of overtime hours per week).




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        16.      Plaintiff was never paid any additional monies for working in excess of 40 hours

per week, and she was not paid overtime pay at rate of time and one half for any hours worked

beyond 40 hours per week.

        17.      Defendant RS-LLC would be characterized as a small business, typically

employing 8-12 employees at any given time during Plaintiff’s tenure.

        18.      Although Plaintiff was referred to by Defednants as a “Manager” of the Purchase

Order Department, she was at almost all times during her tenure the only person (and direct

employee) who worked in her “department.” Defendants naturally had a vested interest in having

customers and vendors optically have the impression they were communicating with a

management-level employee (not uncommon in many industries, such as referring to salespeople

as vice presidents).

        19.      Plaintiff was not paid overtime compensation (in violation of state and federal

laws), and she was misclassified as an “exempt” employee instead of being treated as a “non-

exempt” employee (as legally required).

        20.      Defendants did not document, track, or itemize hours worked by Plaintiff on a

daily or weekly basis as legally required.1

        21.      In order for Plaintiff to be exempt (and not entitled to overtime pay) as a

“manager” under the “Executive” employee exemption of the Fair Labor Standards Act

(“FLSA”) and Pennsylvania Minimum Wage Act (“PMWA”), Plaintiff must meet multiple


1
  The failure of an employer to abide by mandatory record-keeping of hours worked by an employee violates 29
U.S.C. § 211(c). An employee should not be prejudiced by an employer’s failure to follow record-keeping laws. As
a result, an employee’s estimates of hours typically worked may be accepted. See e.g. Zeng Liu v. Jen Chu
Fashion Corp., 2004 WL 33412, at *8 (S.D.N.Y. 2004).




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elements of the exemption: (1) she must be paid a salary of at least $684.00 per week; (2) she

must regularly direct 2 or more employees; and (3) she perform the “primary duty” of

management. See 29 C.F.R. 541.100.

           22.       Plaintiff does not dispute she was paid a salary as required by the management

exemption.2 However, Plaintiff did not regularly (or as any type of primary duty): (a) supervise 2

more employees;3 (b) hire employees; (c) terminate employees; (d) give pay raises or evaluations

to employees; (e) make corporate policies; or (f) perform other “executive” level duties as

generally required by the exemption.

           23.       Plaintiff was a salaried customer service representative for Defendants. Plaintiff’s

primary duties consisted of: (a) making phone calls, taking phone calls, and answering emails

related to customer orders; (b) data entry much of the day; (c) processing purchase orders; and

(d) helping with packing products at times over the years when Defendant was busy; and (e)

ensuring delivery of products to customers or vendors. Plaintiff didn’t have any meaningful

discretion, nor perform any primary duties of management.

           24.       There is no plausible or good-faith basis to ever assert Plaintiff was exempt from

overtime or that she performed as an executive (under the executive exemption for certain

higher-level managers).4 Regulations of laws governing overtime specifically clarify that job

titles are meaningless for purposes of exemption review or evaluation.5


2
  In virtually every case around the United States where an employee is misclassified, he or she is always paid a
salary that meets the asserted exemption. But virtually all cases of misclassification are premised upon an employee
not being exempt because he or she does not perform duties required by the exemption.
3
    For a very short period in Plaintiff’s tenure, she was assisted by another employee at times (until he quit).
4
  See e.g. Morgan v. Family Dollar Stores, Inc., 551 F.3d 1233, 1269 (11th Cir. 2008)(affirming $35,000,000 verdict
against the defendant because a class of store managers performed primary duties of non-management including
stocking, cashier work, etc…); Hickton v. Enter. Rent-A-Car Co. (In re Enter. Rent-A-Car Wage & Hour Empl.
Practices Litig.), 2012 U.S. Dist. LEXIS 136252 (W.D. Pa. 2012)(denying summary judgment and explaining a jury
could readily conclude employee titled “manager” who performed mostly sales and other labor had “primary duties”


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           25.       Under both state and federal laws, Plaintiff is entitled to a look-back period of 3

years for any unpaid overtime compensation (from lawsuit filing date). Thus, the look-back

period in this lawsuit is from October 16, 2020 through October 16, 2023. This timeframe is

hereinafter referred to as the “look-back period.”

           26.       During the look-back period, Plaintiff worked for 146 weeks prior to August of

2023 (when Plaintiff commenced taking periodic and block time off due to her health and her

pregnancy).6 Plaintiff was terminated shortly after discussing her health, pregnancy, and

requesting medical accommodations (the subject of different legal claims before the

Pennsylvania Human Relations Commission – “PHRC”).

           27.       Plaintiffs Winters and Kolodziey are both personally and individually liable as to

their own (non-corporate) assets under applicable state and federal laws, as both state and federal

laws permit individual liability against management overseeing compensation of employees.7

These executives who own and/or operate Defendant RS-LLC were the direct management




other than management); Marshall v. Coastal Group Management, 1980 U.S. Dist. LEXIS 11704 (D.N.J.
1980)(reaffirming the denial of summary judgment as to managers explaining they spent most of their time prepping
food, cooking, handling customers, working the cash register and cleaning finding assertions of the “executive
exemption” to be “untenable”).

5
    See "29 C.F.R. § 541.2 Job titles insufficient."

           A job title alone is insufficient to establish the exempt status of an employee.
           The exempt or nonexempt status of any particular employee must be determined
           on the basis of whether the employee's salary and duties meet the
           requirements of the regulations in this part.


6
 Plaintiff excludes the months of August and September 2023 (predating her termination from employment) from
any overtime calculations herein.
7
  See e.g. Haybarger v. Lawrence Cty. Adult Prob. & Parole, 667 F.3d 408, 414 (3d Cir. 2012)(managers, owners or
and corporate officers exercising control over wages or employee compensation are appropriate defendants under
the FLSA and may be individually liable for such violations). The regulations under state law are the same.



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responsible for misclassifying Plaintiff and not paying her in accordance with state and federal

regulations.

           28.       Plaintiff’s average overtime rate ($50.00 per hour) multiplied by an average of at

least 10 hours of overtime per week totals at least $500.00 in unpaid overtime compensation per

week. Under this conservative estimate of unpaid overtime compensation, Plaintiff is owed at

least $73,000.00 in unpaid overtime compensation.8

           29.       It is extremely well recognized nationally that Plaintiff could not possibly meet an

exemption and that she performed a glorified customer service role. Plaintiff’s unpaid overtime

is to be automatically doubled under regulations of the Fair Labor Standards Act (“FLSA”).9

           30.       Thus, under applicable law(s), Plaintiff is entitled to at least $146,000.00 in

unpaid overtime compensation, in addition to costs and all legal fees of her counsel. See 29

U.S.C. § 216(b)(a prevailing plaintiff “shall” be entitled to attorney’s fees).




8
 Plaintiff is not only seeking $73,000.00 in unpaid overtime. She will assert during the pendency of this lawsuit that
she worked well in excess of 10 hours per week in many weeks. She is however giving a conservative estimate (for
calculation purposes) based upon a minimum of 10 hours of overtime per week in this lawsuit to provide significant
detail as to claims, allegations, and a base minimum of what is owed for purposes of notice pleading.
9
    See e.g. Solis v. Min Fang Yang, 345 Fed. Appx. 35 (6th Cir. 2009)(Affirming award of liquidated damages explaining
     "under the Act, liquidated damages are compensation, not a penalty or punishment, and no special showing is necessary
     for the awarding of such damages. Rather, they are considered the norm and have even been referred to by this court as
     mandatory."); Gayle v. Harry's Nurses Registry, Inc., 594 Fed. Appx. 714, 718 (2d Cir. 2014)(Affirming award of
     liquidated damages explaining there is an automatic "presumption" of liquidated damages and "double damages are the
     norm, single damages the exception," as the burden to avoid liquidated damages is a "difficult burden."); Haro v. City of
     Los Angeles, 745 F.3d 1249 (9th Cir. 2014)(Affirming award of liquidated damages explaining they are the "norm" and
     "mandatory" unless the employer can establish the very "difficult burden" of subjective and objective attempts at FLSA
     compliance); Chao v. Barbeque Ventures, LLC, 547 F.3d 938, 942 (8th Cir. 2008)(Affirming award of liquidated
     damages explaining that the employer mistakenly argues its non-compliance was not willful, misunderstanding the high
     burden to show affirmative steps of attempted compliance and research of the FLSA and separately that its diligence and
     belief in non-payment of overtime was also objectively reasonable.); Chao v. Hotel Oasis, Inc., 493 F.3d 26 (1st Cir.
     2007)(Affirming award of liquidated damages explaining that they will always be considered the "norm" in FLSA cases);
     Lockwood v. Prince George's County, 2000 U.S. App. LEXIS 15302 (4th Cir. 2000)(Affirming award of liquidated
     damages explaining they are the "norm" and that an employer may not take an ostrich-like approach and refuse to
     research its obligations under the FLSA and to objectively explain why it failed to comply with the FLSA).



                                                               7
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                                            Count I
                    Violations of the Fair Labor Standards Act ("FLSA")
                           (Failure to Pay Overtime Compensation)
                                   - Against All Defendants -

        31.    The foregoing paragraphs are incorporated herein in their entirety as if set forth in

full.

        32.    Defendants are a business and/or enterprise and/or individuals covered under the

FLSA, and they were required to pay overtime to non-exempt employees.

        33.    Plaintiff was not paid at a rate of time and one half for all hours worked over 40

hours per week as outlined ad nauseum in this lawsuit. See supra.

        34.    Plaintiff is therefore owed overtime pay, liquidated damages, other penalties,

costs, and attorney’s fees.

        35.    Defendants’ actions in all regards violated the FLSA.

                                          Count II
               Violations of the Pennsylvania Minimum Wage Act (“PMWA”)
                          (Failure to Pay Overtime Compensation)
                                  - Against All Defendants -

        36.    The foregoing paragraphs are incorporated herein in their entirety as if set forth in

full.

        37.    Plaintiff was not properly paid for all owed overtime as explained supra. And

such actions constitute indefensible violations of the Pennsylvania Minimum Wage Act

(“PMWA”).

        38.    The PMWA and FLSA are interpreted and analyzed identically, and thus Plaintiff

re-asserts and re-alleges all such violations under the FLSA herein (as they constitute mirroring

violations of the PMWA.

        WHEREFORE, Plaintiff prays that this Court enter an Order providing that:




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      A.       Defendants are to promulgate and adhere to a policy prohibiting overtime and

wage violations;

      B.       Defendants are to compensate Plaintiff, reimburse Plaintiff, and make Plaintiff

whole for any and all pay and benefits Plaintiff would have received had it not been for

Defendants’ wrongful actions, including but not limited to all owed wages, overtime, and other

applicable compensation;

      C.       Plaintiff is to be awarded liquidated damages as permitted by applicable law;

      D.       Plaintiff is to be accorded other equitable or legal relief as the Court deems just,

proper, and appropriate (or as permitted by statute(s));

      E.       Plaintiff is to be awarded the costs and expenses of this action and a reasonable

attorney’s fees; and

      F.       Plaintiff is permitted to have a trial by jury.



                                                       Respectfully submitted,

                                                       KARPF, KARPF & CERUTTI, P.C.



                                                       Ari R. Karpf, Esquire
                                                       3331 Street Road
                                                       Building 2, Suite 128
                                                       Bensalem, PA 19020
                                                       (215) 639-0801
Dated: October 30, 2023




                                                  9
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                             Case 2:23-cv-04184-CFK
                                                UNITEDDocument   1 Filed
                                                       STATES DISTRICT   10/30/23 Page 11 of 12
                                                                       COURT
                                                       FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                                                           DESIGNATION FORM
                     (to be used by counsel or pro se plaintiff to indicate the category of the case for the purpose of assignment to the appropriate calendar)

                       P=cê~äÉó=píêÉÉíI=_êáÇÖÉéçêíI=m^=NVQMR
Address of Plaintiff: ______________________________________________________________________________________________
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Address of Defendant: ____________________________________________________________________________________________
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Place of Accident, Incident or Transaction: ___________________________________________________________________________



RELATED CASE, IF ANY:

Case Number: ______________________________                      Judge: _________________________________                    Date Terminated: ______________________

Civil cases are deemed related when Yes is answered to any of the following questions:

1.     Is this case related to property included in an earlier numbered suit pending or within one year                         Yes                    No X
       previously terminated action in this court?

2.     Does this case involve the same issue of fact or grow out of the same transaction as a prior suit                        Yes                    No X
       pending or within one year previously terminated action in this court?

3.     Does this case involve the validity or infringement of a patent already in suit or any earlier                           Yes                    No X
       numbered case pending or within one year previously terminated action of this court?

4.     Is this case a second or successive habeas corpus, social security appeal, or pro se civil rights                        Yes                    No X
       case filed by the same individual?

I certify that, to my knowledge, the within case              is / X is not related to any case now pending or within one year previously terminated action in
this court except as noted above.
          NMLPMLOMOP
DATE: __________________________________                      __________________________________________                               ARK2484 / 91538
                                                                                                                               ___________________________________
                                                                          Attorney-at-Law / Pro Se Plaintiff                               Attorney I.D. # (if applicable)


CIVIL:

A.            Federal Question Cases:                                                       B.    Diversity Jurisdiction Cases:

       1.     Indemnity Contract, Marine Contract, and All Other Contracts                        1.    Insurance Contract and Other Contracts
       2.     FELA                                                                                2.    Airplane Personal Injury
       3.     Jones Act-Personal Injury                                                           3.    Assault, Defamation
       4.     Antitrust                                                                           4.    Marine Personal Injury
       5.     Patent                                                                              5.    Motor Vehicle Personal Injury
u      6.     Labor-Management Relations                                                          6.    Other Personal Injury (Please specify): _____________________
       7.     Civil Rights                                                                        7.    Products Liability
       8.     Habeas Corpus                                                                       8.    Products Liability –Asbestos
       9.     Securities Act(s) Cases                                                             9.    All other Diversity Cases
       10.    Social Security Review Cases                                                              (Please specify): ____________________________________________
       11.    All other Federal Question Cases
              (Please specify): ____________________________________________



                                                                           ARBITRATION CERTIFICATION
                                                   (

     Ari R. Karpf
I, ____________________________________________ , counsel of record or pro se plaintiff, do hereby certify:

              Pursuant to Local Civil Rule 53.2, § 3(c ) (2), that to the best of my knowledge and belief, the damages recoverable in this civil action case
     X
              exceed the sum of $150,000.00 exclusive of interest and costs:

              Relief other than monetary damages is sought.


          NMLPMLOMOP
DATE: __________________________________                      _____________________________________ _____                            ARK2484 / 91538
                                                                                                                              ___________________________________
                                                                          Attorney-at-Law / Pro Se Plaintiff                              Attorney I.D. # (if applicable)

NOTE: A trial de novo will be a trial by jury only if there has been compliance with F.R.C.P. 38.

Civ. 609 ( /2018)
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JS 44 (Rev. 06/17)                                                          CIVIL COVER SHEET
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

I. (a) PLAINTIFFS                                                                                             DEFENDANTS
                                                                                                            obabjmqflk=pmfofqpI=ii`I=aL_L^=^jbof`^k=pmfofqp
    bd^kI=gbkkfcbo                                                                                          bu`e^kdb=ifjfqbaI=bq=^iK
     (b) County of Residence of First Listed Plaintiff                 jçåíÖçãÉêó                            County of Residence of First Listed Defendant jçåíÖçãÉêó
                                  (EXCEPT IN U.S. PLAINTIFF CASES)                                                                      (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                              NOTE:         IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                            THE TRACT OF LAND INVOLVED.

  (c) Attorneys (Firm Name, Address, and Telephone Number)                                                    Attorneys (If Known)
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II. BASIS OF JURISDICTION (Place an “X” in One Box Only)                                        III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintif f
                                                                                                         (For Diversity Cases Only)                                             and One Box for Defendant)
❒ 1    U.S. Government               u’ 3 Federal Question                                                                         PTF           DEF                                            PTF      DEF
          Plaintiff                               (U.S. Government Not a Party)                     Citizen of This State          ’ 1           ’ 1     Incorporated or Principal Place         ’ 4     ’ 4
                                                                                                                                                             of Business In This State

❒ 2    U.S. Government                   ’ 4 Diversity                                              Citizen of Another State          ’ 2         ’ 2    Incorporated and Principal Place      ’ 5      ’ 5
          Defendant                             (Indicate Citizenship of Parties in Item III)                                                                of Business In Another State

                                                                                                    Citizen or Subject of a           ’ 3         ’ 3    Foreign Nation                        ’ 6      ’ 6
                                                                                                      Foreign Country
IV. NATURE OF SUIT (Place an “X” in One Box Only)                                                                                                  Click here for: Nature of Suit Code Descriptions.
           CONTRACT                                               TORTS                               FORFEITURE/PENALTY                            BANKRUPTCY                      OTHER STATUTES
❒   110 Insurance                         PERSONAL INJURY                 PERSONAL INJURY       ❒ 625 Drug Related Seizure                  ’   422 Appeal 28 USC 158          ❒ 375 False Claims Act
❒   120 Marine                       ’    310 Airplane                 ❒ 365 Personal Injury -          of Property 21 USC 881              ’   423 Withdrawal                 ’ 376 Qui Tam (31 USC
❒   130 Miller Act                   ’    315 Airplane Product                Product Liability ❒ 690 Other                                         28 USC 157                        3729(a))
❒   140 Negotiable Instrument                  Liability               ❒ 367 Health Care/                                                                                     ❒ 400 State Reapportionment
❒   150 Recovery of Overpayment      ’    320 Assault, Libel &               Pharmaceutical                                                     PROPERTY RIGHTS               ❒ 410 Antitrust
        & Enforcement of Judgment              Slander                       Personal Injury                                                ❒ 820 Copyrights                  ❒ 430 Banks and Banking
❒   151 Medicare Act                 ’    330 Federal Employers’             Product Liability                                              ❒ 830 Patent                      ❒ 450 Commerce
❒   152 Recovery of Defaulted                  Liability               ❒ 368 Asbestos Personal                                              ❒ 835 Patent - Abbreviated        ❒ 460 Deportation
        Student Loans                ’    340 Marine                          Injury Product                                                       New Drug Application       ❒ 470 Racketeer Influenced and
        (Excludes Veterans)          ’    345 Marine Product                  Liability                                                     ❒ 840 Trademark                          Corrupt Organizations
❒   153 Recovery of Overpayment                Liability                 PERSONAL PROPERTY                   LABOR                             SOCIAL SECURITY                ❒ 480 Consumer Credit
        of Veteran’s Benefits        ’    350 Motor Vehicle            ❒ 370 Other Fraud        ❒ 710 Fair Labor Standards
                                                                                                u                                           ’ 861 HIA (1395ff)                ❒ 490 Cable/Sat TV
❒   160 Stockholders’ Suits          ’    355 Motor Vehicle            ❒ 371 Truth in Lending           Act                                 ❒ 862 Black Lung (923)            ❒ 850 Securities/Commodities/
❒   190 Other Contract                        Product Liability        ❒ 380 Other Personal     ❒ 720 Labor/Management                      ’ 863 DIWC/DIWW (405(g))                  Exchange
❒   195 Contract Product Liability   ’    360 Other Personal                 Property Damage            Relations                           ❒ 864 SSID Title XVI              ❒ 890 Other Statutory Actions
❒   196 Franchise                             Injury                   ❒ 385 Property Damage    ❒ 740 Railway Labor Act                     ’ 865 RSI (405(g))                ❒ 891 Agricultural Acts
                                     ’    362 Personal Injury -              Product Liability   ’ 751 Family and Medical                                                     ❒ 893 Environmental Matters
                                              Medical Malpractice                                       Leave Act                                                             ❒ 895 Freedom of Information
        REAL PROPERTY                       CIVIL RIGHTS                PRISONER PETITIONS      ❒ 790 Other Labor Litigation                  FEDERAL TAX SUITS                       Act
❒   210 Land Condemnation            ❒    440 Other Civil Rights          Habeas Corpus:        ❒ 791 Employee Retirement                   ❒ 870 Taxes (U.S. Plaintiff       ❒ 896 Arbitration
❒   220 Foreclosure                  ❒    441 Voting                   ❒ 463 Alien Detainee            Income Security Act                         or Defendant)              ❒ 899 Administrative Procedure
❒   230 Rent Lease & Ejectment       ❒    442 Employment               ❒ 510 Motions to Vacate                                              ❒ 871 IRS—Third Party                    Act/Review or Appeal of
❒   240 Torts to Land                ❒    443 Housing/                       Sentence                                                              26 USC 7609                       Agency Decision
❒   245 Tort Product Liability                Accommodations           ❒ 530 General                                                                                          ❒ 950 Constitutionality of
❒   290 All Other Real Property      ❒    445 Amer. w/Disabilities -   ❒ 535 Death Penalty              IMMIGRATION                                                                  State Statutes
                                              Employment                  Other:                ❒ 462 Naturalization Application
                                     ❒    446 Amer. w/Disabilities -   ❒ 540 Mandamus & Other   ❒ 465 Other Immigration
                                              Other                    ❒ 550 Civil Rights               Actions
                                     ❒    448 Education                ❒ 555 Prison Condition
                                                                       ❒ 560 Civil Detainee -
                                                                             Conditions of
                                                                              Confinement

V. ORIGIN (Place an “X” in One Box Only)
u
’ 1 Original    ❒ 2 Removed from                            ❒    3     Remanded from            ❒ 4 Reinstated or       ’     5 Transferred from    ❒ 6 Multidistrict                   ❒ 8 Multidistrict
        Proceeding                State Court                          Appellate Court              Reopened                    Another District           Litigation -                     Litigation -
                                                                                                                            (specify)                      Transfer                         Direct File
                                            Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
                      cip^=EOVrp`OMNF
VI. CAUSE OF ACTION Brief description of cause:
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VII. REQUESTED IN     ❒ CHECK IF THIS IS A CLASS ACTION         DEMAND $                                                                                CHECK YES only if demanded in complaint:
     COMPLAINT:           UNDER RULE 23, F.R.Cv.P.                                                                                                      JURY DEMAND:        u’ Yes      ’ No
VIII. RELATED CASE(S)
                        (See instructions):
      IF ANY                                JUDGE                                                                                               DOCKET NUMBER
DATE                                                                      SIGNATURE OF ATTORNEY OF RECORD
           NMLPMLOMOP
FOR OFFICE USE ONLY

     RECEIPT #                    AMOUNT                                      APPLYING IFP                                    JUDGE                               MAG. JUDGE

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